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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MABLE J. HARRIS,                                       )
                                                       )
                       Plaintiff,                      )
                                                       )       Case No. 2024 CV 02738
               v.                                      )
                                                       )       Judge Sharon Johnson Coleman
PAGE PUBLISHING, INC., a New York                      )
Company, GOOGLE, LLC, a California                     )
corporation, and AMAZON.com, Inc., a                   )
Washington corporation,                                )
                                                       )
                       Defendants.                     )


                          MEMORANDUM OPINION AND ORDER

       Plaintiff Mable J. Harris filed this lawsuit against Defendants Page Publishing, Inc., Google,

LLC, and Amazon.com, Inc. (Dkt. 2). Plaintiff thereafter dismissed Defendant Google, LLC (Dkts.

8, 10). The Court addresses Plaintiff’s failure to serve Defendants Page Publishing, Inc. and

Amazon.com, Inc. with service of process.

       A plaintiff in a civil action in federal court must effect service of the summons and complaint

within 90 days of initiating the action. See Fed. R. Civ. P. 4(c)(1), (m). “If a defendant is not served

within 90 days after the complaint is filed, the court—on motion or on its own after notice to the

plaintiff—must dismiss the action without prejudice against that defendant or order that service be

made within a specified time.” Fed. R. Civ. P. 4(m). If the plaintiff shows good cause for failure to

effect service, the court must extend the time for service for an appropriate period. Id. “There is no

precise test for good cause, but the plaintiff must show at least ‘reasonable diligence’ in effecting

service.” Am. Kitchen Delights, Inc. v. Tino’s Italian Specialty Foods LLC, 2018 WL 4916530, at *1 (N.D.

Ill. Oct. 10, 2018) (Durkin, J.) (citing Bachenski v. Malnati, 11 F.3d 1371, 1377 (7th Cir. 1993)). The




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Court may dismiss an action with prejudice “if the plaintiff’s delay in obtaining service is so long that

it signifies failure to prosecute[.]” Williams v. Illinois, 737 F.3d 473, 476 (7th Cir. 2013).

        Alternatively, a plaintiff may request waiver of formal service of summons by following the

requirements set forth in Rule 4(d). See Fed. R. Civ. P. 4(d). But a request to a defendant to waive

formal service is just that—a request. Nothing requires a defendant to waive formal service. See Troxell

v. Fedders of North America, Inc., 160 F.3d 381, 383 (7th Cir. 1998) (holding that “the only penalty a

defendant [] will suffer for insisting on formal service is an assessment against it of the costs of

service”); Khan v. Hemosphere Inc., 2019 WL 2137378, at *2 (N.D. Ill. May 16, 2019) (Kendall, J.)

(“[W]aiver of service is merely offered as an alternative to litigating parties and defendants are by no

means required to accept waiver.”). Indeed, “if [a plaintiff] does not attempt, or has attempted but

failed, to secure a waiver of service, [it] must perfect service in accordance with Rule 4.” Plotkin v.

UChicago Argonne LLC, d/b/a Argonne Nat’l Lab’y , 2024 WL 3470580, at *5 (N.D. Ill. Jul. 19, 2024)

(Alonso, J.); see also Troxell, 160 F.3d at 383.

        Plaintiff initiated this action 339 days ago on April 5, 2024. Over the course of nearly one

year, Plaintiff has represented to this Court that it has been unsuccessful in its attempts to effect

service upon Defendants Page Publishing, Inc. and Amazon.com, Inc. But Plaintiff’s filings with this

Court demonstrate that Plaintiff’s counsel has not, in fact, attempted service of process in a manner

compliant with Rule 4. Rather, Plaintiff’s counsel has sought only a waiver of formal service. Plaintiff’s

filings indicate that on May 24, 2024 and December 4, 2024, Plaintiff sent Defendant Amazon.com,

Inc.’s registered agent, Illinois Corporation Service C, a copy of the complaint and a waiver of service

to the Springfield, Illinois address listed on the Office of the Illinois Secretary of State’s website (Dkt.

16). Plaintiff’s filings also indicate that Plaintiff sent Page Publishing, Inc. a copy of the complaint

and a waiver of service to Pennsylvania and New York addresses on May 23, 2024 and December 4,

2024, respectively (Dkt. 18). Nothing filed with this Court suggests that Plaintiff attempted to comply



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with Rule 4 in effecting formal service of process when it realized that Defendants were unlikely to

return an executed waiver. Despite this Court’s utmost generosity in permitting Plaintiff additional

time—249 days to be exact—to serve Defendants, Plaintiff has still failed to perfect service of process

on either Defendant, having offered no justification for the egregious delay besides Plaintiff’s counsel’s

claim that Defendants have failed to return executed waivers. But, as Rule 4 and decades of federal

case law make clear, Defendants were under no such obligation to do so. See Troxell, 160 F.3d at 383.

        In light of Plaintiff’s counsel’s lack of diligence in carrying this case forward, see Ill. R. Prof’l

Conduct 1.3 (2010), this Court will not expend any further judicial resources on this case. Plaintiff’s

complaint is dismissed with prejudice for failure to satisfy the procedural requirements of service of

process and for want of prosecution. See Williams, 737 F.3d at 476.


IT IS SO ORDERED.

                                                                  ________________________
                                                                  Sharon Johnson Coleman
                                                                  United States District Judge
DATED: 3/10/2025




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